                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE SIXTH CIRCUIT


GUN OWNERS OF AMERICA, INC., et al.,

                     Plaintiffs-Appellants,


                     v.                                 No. 24-1881

U.S. DEPARTMENT OF JUSTICE, et al.,

                     Defendants-Appellees.



             UNOPPOSED MOTION FOR 60-DAY EXTENSION
                 OF TIME TO FILE RESPONSE BRIEF

       Pursuant to Federal Rule of Appellate Procedure 26(b) and 6th Circuit Rule

26(a)(1), the government respectfully moves for a 60-day extension of time, to and

including April 8, 2025, in which to file its response brief. Plaintiffs consent to this

motion. In support of this motion, the government states the following:

       1. This case involves a challenge to a public safety advisory issued by the

Bureau of Alcohol, Tobacco, Firearms, and Explosives. The advisory informs federal

firearms licensees that ATF does not believe that concealed pistol licenses issued

under Michigan law qualify as valid alternatives to a federal background check. See 18

U.S.C. § 922(t)(3) (providing that the Gun Control Act’s background-check

requirements do not apply to “a firearm transfer between a licensee and another
person if” the transferee “present[s] to the licensee a” permit that meets certain

requirements). Plaintiffs filed their opening brief on December 6, 2024. Under this

Court’s order of December 20, 2024, the government’s response brief is due,

following one 30-day extension, on February 7, 2025.

      2.     Due to the recent change in administration on January 20, 2025, there is

leadership transition at the Department of Justice, the Federal Bureau of

Investigation, and ATF. Those new agency officials are currently in the process of

onboarding. To provide new leadership with sufficient time to familiarize themselves

with the issues presented in this case, the government respectfully requests that the

Court extend the current deadline for the government’s response brief by 60 days, to

and including April 8, 2025. This extension will conserve judicial resources and

promote the efficient and orderly disposition of this appeal, including by ensuring that

any brief filed by the government before this Court will reflect the views of current

agency leadership.




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      3.     Plaintiffs’ counsel has informed the government that plaintiffs consent

to this motion.



                                       Respectfully submitted,

                                       MICHAEL S. RAAB

                                       s/ Sean R. Janda
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JANUARY 2025




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                           CERTIFICATE OF SERVICE

      I hereby certify that on January 27, 2025, I electronically filed the foregoing

motion with the Clerk of the Court for the United States Court of Appeals for the

Sixth Circuit by using the appellate CM/ECF system and service will be accomplished

on all parties through that system.




                                                /s/ Sean R. Janda
                                               Sean R. Janda
                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), I hereby certify that this motion complies

with the requirements of Fed. R. App. P. 27(d)(1)(E) because it has been prepared in

14-point Garamond, a proportionally spaced font, and that it complies with the type-

volume limitation of Fed. R. App. P. 27(d)(2)(A) because it contains 301 words,

according to the count of Microsoft Word.

                                              s/ Sean R. Janda
                                              Sean R. Janda




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